      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 1 of 19



 1 James E. Holland, Jr. (021826)
   Javier Torres (032397)
 2 STINSON LEONARD STREET LLP
   1850 North Central Avenue, Suite 2100
 3 Phoenix, Arizona 85004-4584
   Tel: (602) 279-1600
 4 Fax: (602) 240-6925
   Email: james.holland@stinson.com
 5         javier.torres@stinson.com
   Attorneys for HKB, Inc., dba Southwest Industrial Rigging
 6
                          UNITED STATES DISTRICT COURT
 7                               DISTRICT OF ARIZONA
 8 HKB, INC., an Arizona corporation,              No. 2:16-cv-03799
   doing business as SOUTHWEST
 9 INDUSTRIAL RIGGING,                             OPPOSITION TO MOTION TO
10                                                 DISMISS OR STAY THE ACTION
                                     Plaintiffs,
11 v.
12 BOARD OF TRUSTEES FOR THE                       Assigned to the Honorable Diane J.
   SOUTHWEST CARPENTER’S                           Humetawa
13 SOUTHWEST TRUST;
   CARPENTERS SOUTHWEST
14 ADMINISTRATIVE CORP.,
15                                   Defendants.
16            Plaintiff HKB, Inc., dba Southwest Industrial Rigging’s (“Southwest”) claim
17 should proceed in this Court against defendants Board of Trustees for the Southwest
18 Carpenter’s Southwest Trust and Carpenters Southwest Administrative Corp.
19 (collectively, “the Trusts”). The Trusts’ forum-selection clause is unenforceable because
20 it is contrary to Arizona’s public policy. Moreover, the forum-selection clause cannot be
21 enforced against Southwest because the ex-employee who purportedly signed the
22 Memorandum on Southwest’s behalf lacked authority to do so, and everyone knew it.
23 The Trusts incorrectly claim that “first to file” mandates dismissal; in reality first-to-file
24 is merely one factor (and a relatively insignificant one at that) when deciding which
25 venue is most appropriate. The Trusts’ argument that the union is an indispensable party
26 is wrong because the union has already assigned all of its rights to the Trusts, so it has
27 no remaining interest in this lawsuit. Finally, the Trusts misstate the test for preemption
28

     CORE/3008422.0002/130519316.4
         Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 2 of 19




 1 under NLRA Section 301. Southwest's claims are not preempted because they do not
 2 exclusively arise under state law and Southwest’s claims are not at odds with federal
 3 law. In short, Arizona is the proper venue for this dispute, and Southwest states valid
 4 claims against the Trusts, so the Court should deny the Trusts’ motion.
 5 1.         The Trusts seek to impose obligations that Southwest never agreed to.
 6            Southwest performs construction-related maintenance and repair work at the Palo

 7 Verde Nuclear Generating Station just west of Phoenix (the “Power Plant”) twice a year
                           1
 8 for 4-6 weeks at a time. Southwest had previously used carpenters provided by the
 9 Construction Union to supplement its workforce for the maintenance and repair work at
                                                                                         2
10 the Power Plant, but Southwest was never required to sign a long-term union contract.
11 Rather, Southwest simply employed the individual Construction Union members on a
12 piecemeal basis, paying the carpenters (and the Funds) for the work actually performed,
                                                                                   3
13 but having no obligation beyond the temporary work provided at the Power Plant.
14            In mid-2013, Tom Allen, a salesman for Southwest, told his supervisors at

15 Southwest that the Union gave him a document titled “Southwest Regional Council of
16 Carpenters – Carpenters Memorandum 2012-2016” (the “Memorandum”), which the
                                                    4
17 Union wanted Allen to sign on Southwest's behalf. Allen was only a salesman for
18 Southwest, so the Union had no reason to believe that Allen was authorized to sign the
19 Memorandum. Allen had no experience with such documents, had no authority to sign
20 such documents, and had never seen such documents, so he asked his supervisors for
             5
21 direction. His supervisors told him he did not have authority to enter such contracts,
                                                          6
22 and indeed Southwest would not agree to the Memorandum. Moreover, Southwest
23 could not evaluate the issue further because the Memorandum referenced several other
24
25   1
     See Exhibit 1, Declaration of James Douglas Wilson (“Wilson Decl.”), ¶ 3.
     2
     Wilson Decl. ¶ 4.
26 3 Wilson Decl. ¶ 5.
   4
27 5 Wilson Decl. ¶ 6.
     Wilson Decl. ¶ 7.
   6
28 Wilson Decl. ¶ 8.
     CORE/3008422.0002/130519316.4
                                                 2
         Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 3 of 19




 1 documents that Southwest had never seen and did not have access to.7
 2            Despite having been explicitly told that Southwest would not agree to the
 3 Memorandum and that he did not have authority to sign the Memorandum, Allen
 4 apparently signed the Memorandum on August 22, 2013. As part of the signing process,
 5 Allen was to state his name and corporate title to ensure he had actual authority to bind
 6 Southwest.          Allen         correctly   identified   himself   merely   as   a   salesman:
 7                                   .8 The Construction Union obviously knew that a salesman
 8 would not have authority to sign a long-term union contract, particularly one that (as
 9 will be seen) potentially creates a multi-million-dollar exposure based upon the union-
10 workers’ piecemeal temporary work. To create the impression that Allen had authority
11 to sign the Memorandum, Allen was required to sign another copy of the Memorandum,
12 identifying him (in different handwriting) more broadly as a company representative:
13                              .9 Southwest conducts its business almost exclusively in Arizona,
14 so “Local Rep” is not a title Southwest used or recognized. 10
15            Subsequent to Allen’s signing of the Memorandum, and still unaware that Allen
16 had signed the Memorandum, Southwest reiterated to Allen that he did not have
17 authority to bind Plaintiff by signing such contracts on Plaintiff’s behalf.11 In the
18 meantime, while still unaware that Allen had signed the Memorandum, Southwest used
19 Construction Union carpenters to perform temp work at the Power Plant, just as it had
20 been doing for years. Consistent with past practices, Southwest paid for all services
21 rendered by the union carpenters, including paying the plaintiff Funds based upon work
22 performed by the union carpenters.12
23            Beginning November 2015—several years after Southwest first began hiring and
24 paying for services provided by the Construction Union’s carpenters (and more than two
25   7
     Wilson Decl. ¶ 9.
     8
     Wilson Decl. ¶ 10; Ex. A to Wilson Decl.
26 9 Wilson Decl. ¶ 11; Motion, Ex. 1 to Shanley Decl. at Page 008.
   10
27 11 Wilson Decl. ¶ 12.
      Wilson Decl. ¶ 13.
   12
28    Wilson Decl. ¶ 14.
     CORE/3008422.0002/130519316.4
                                                         3
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 4 of 19




 1 years after Allen signed the Memorandum)—the Funds purported to perform an “audit”
 2 regarding Southwest’s payments to the Funds. As a result of the “audit,” the Funds
 3 demanded that Southwest make additional payments in excess of $490,000, for various
 4 health-care, training, vacation, and pension funds. This payment demand was not based
 5 upon any work performed by the Construction Union’s carpenters. Rather, the Funds
 6 demanded payment solely based upon services performed by Southwest’s own
 7 employees. Southwest’s employees are not members of and have no affiliation with the
 8 Construction Union. Nevertheless, the Funds claimed one of the documents
 9 incorporated into the Memorandum says Southwest must pay the Funds for all work
10 performed by Southwest’s employees even though they are not union members and do
11 not receive union benefits.13 In other words, the Funds claim that because Southwest
12 hired union carpenters for temporary work at the Power Plant, Southwest is required to
13 pay the Funds for all work performed year-round by Southwest’s non-union employees.
14            The Funds’ demand by itself actually exceeds the value of all services provided
15 by the union carpenters for that time period.14 Neither Southwest nor Southwest’s
16 employees will receive any benefit from the health-care, training, pension, and vacation
17 plans that the Funds claim Southwest must pay for. During the time that Southwest used
18 carpenters provided by the Construction Union, neither the Construction Union nor the
19 Funds ever brought to Southwest’s attention any expectation that Southwest was liable
20 for any of the payments that Funds ultimately demanded as a result of the “audits.”15
21 2.         Southwest never accepted the Trusts’ forum-selection clause.
22            The Trusts rely on forum-selection clauses which are not found in the

23 Memorandum itself, but which are instead buried deep within Trust documents which,
                                                                               16
24 according to the Trusts, are incorporated by reference into the Memorandum.
25 According to The Trusts, these clauses mandate that litigation be conducted in Los
26   13
      Wilson Decl. ¶ 15.
     14
27 15 Wilson Decl. ¶ 16.
      Wilson Decl. ¶ 17.
   16
28    Motion at 2.
     CORE/3008422.0002/130519316.4
                                                 4
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 5 of 19




 1 Angeles, California.17 But Allen was not authorized to sign the Memorandum.18 Equally
 2 important, the Construction Union knew or should have known that Allen did not have
 3 authority to bind Southwest to the Memorandum.
 4            Moreover, Southwest did not ratify Allen’s unauthorized act in signing the
 5 Memorandum. The Memorandum does not create enforceable rights for the union
 6 carpenters hired by Southwest. Rather, the Memorandum only purports to set terms of
 7 employment—if (and only if) Southwest decided to hire union carpenters. After
 8 Southwest was alerted that the Funds believed Southwest had agreed to the
 9 Memorandum, Southwest immediately stopped hiring Union carpenters.19 Since
10 Southwest never agreed to be bound by the Memorandum, it follows that Southwest is
11 not bound by a venue provision buried in a document referenced by the Memorandum.
12            In its Motion, the Trust incorrectly argues that Southwest’s managers “signed up
13 for a separate program to participate in the benefit plans based upon the agreement by
14 Mr. Allen.”20 The Trust never explains how this is relevant to the motion, but far more
15 important, the allegation is blatantly false. Neither Southwest nor its managers ever
16 signed up for such a program, nor were any of them aware the Trusts purported to offer
17 such a program. Indeed, the Trusts’ allegation is based exclusively on the fact that
18 Southwest submitted a one-page form saying its managers were “exempt from . . .
19 reporting requirements” to the Trusts (see Ex. 9). Contrary to the Trusts’ allegations,
20 that one-page form simply addresses exemptions from reporting requirements; it does
21 not “sign up” anyone for anything. Indeed, it does not mention eligibility for benefits
22 programs, nor does it even mention that such programs exist. If Southwest’s employees
23 did actually qualify for a “benefit plan,” as alleged by the Trusts, that would have
24 happened through some other document, and the Trust does not argue otherwise.
25 Indeed, the Trusts’ administrator merely said that the exempt employees qualify for
26   17
      Id.
     18
27 19 Wilson Decl. ¶ 8, 10, 11, 12, 14.
      Wilson Decl. ¶ 18.
   20
28    Motion p. 3.
     CORE/3008422.0002/130519316.4
                                                  5
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 6 of 19




 1 benefits, not that Southwest “signed up” for those benefits. Southwest never knew the
 2 union purported to offer a “benefit plan” for company managers; Southwest never knew
 3 the managers would be deemed to be eligible for such benefits; and Southwest did not
 4 want the purported benefit plan.21 For their part, Southwest’s managers never actually
 5 received any such purported benefits, never knew they were deemed to be eligible to
 6 receive any purported benefits and never knew such benefits existed.22
 7            Finally, even if the exemption form did “sign up” employees for benefits (it did
 8 not), there is still no evidence that Southwest accepted those benefits. As the form
 9 plainly states, the Southwest employee who signed the form was merely an
10 administrative assistant who worked in payroll—not someone with any authority to bind
11 Southwest to the Trust's purported contract. Thus, the Trust's argument that Southwest
12 “signed up for a program allowing its managers to participate in the SWRCC sponsored
13 benefits plans” is intentionally misleading and patently false.
14 3.         The Trusts’ forum-selection clause violates Arizona public policy.
15            Even if Southwest is bound by the Memorandum (it is not), Southwest is still is

16 not subject to suit in California because the venue-selection provision is invalid. As a
17 matter of public policy, the Arizona legislature has declared that every covenant or
18 understanding that is “collateral to or affect[s] a construction contract” must be litigated
19 in Arizona:
20        A. The following are against this state’s public policy and are void and
             unenforceable:
21               1. A provision, covenant, clause or understanding in, collateral to
                    or affecting a construction contract that makes the contract
22                  subject to the laws of another state or that requires any
                    litigation arising from the contract to be conducted in another
23                  state.
24                  ...
          B. Any mediation, arbitration or other dispute resolution proceeding
25           arising from a construction contract for work performed in this state

26
27   21
          See Wilson Decl. ¶ 19.
     22
28        See Wilson Decl. ¶ 20, 21.
     CORE/3008422.0002/130519316.4
                                                  6
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 7 of 19



                  shall be conducted in this state.23
 1
 2 As discussed above, the only reason Southwest hired the Union carpenters was to
 3 provide construction services for the Palo Verde power plant in Arizona. Indeed, the
 4 Trust admits in its Complaint in the California action that Southwest was “a contractor
 5 engaged in the construction industry”24 and Southwest “engaged [union] workers . . .
 6 [to] perform[ ]            labor on works of construction . . . [under] the term of the
 7 [Memorandum].”25 In other words, as alleged in the California Complaint, the
 8 Memorandum either constitutes a construction contract or, at a minimum, the
 9 Memorandum is “collateral to or affect[s] a construction contract” under A.R.S. § 32-
10 1195(A)(1). Thus, the Memorandum’s purported venue provision—purportedly
11 requiring litigation in California—violates public policy and is invalid under Arizona
12 law. More importantly, because construction work was performed in Arizona, all
13 “dispute resolution proceeding[s],” including this litigation, must be in Arizona. 26
14 4.         The first-to-file rule must yield to the fact that Arizona is the most
              convenient and suitable forum.
15
              The Funds claim that this Court cannot decide this case because they filed a
16
     lawsuit in California based upon the same underlying facts. That lawsuit was filed
17
     October 28, 201627 while this lawsuit was filed November 2, 2016.28 But while the
18
     Funds may have beaten Southwest to the punch (by a mere five days), Southwest was
19
     23
20      A.R.S. § 32-1195(A)(1) (emphasis added).
     24
        See Carpenters Southwest Admin. Corp. v. H K B Inc. et al, 2:16-cv-08040-MWF-SK
21   (C.D. Cal.), Dkt. No. 1 (hereinafter “California Complaint”), ¶ 13 (emphasis added).
     25
        California Complaint, ¶ 20 (emphasis added).
     26
22      See, e.g., Keystone, Inc. v. Triad Systems Corp., 292 Mont. 229, 235 (1998) (state
     statute “invalidate[d] forum selection clauses that would have the effect of forcing
23   Montana residents to litigate disputes outside of Montana,” holding that “provision at
     issue which requires that a Montana resident arbitrate disputes related to a contract to be
24   performed in Montana at a location outside Montana is void because it violates Montana
     law.”); see also Jones v. GNC Franchising, 211 F.3d 495, 498 (9th Cir. 2000); Ida. Pac.
25   Corp. v. Binex Line Corp., 2016 WL 843254 *11 (D. Ida. 2016); Jacobsen Const. Co.,
     Inc. v. Teton Builders, 106 P.3d 719, 725-26 (Utah 2005).
26   27
        Carpenters Southwest Admin. Corp. v. H K B Inc. et al, 2:16-cv-08040-MWF-SK
27   (C.D. Cal.), Dkt. No. 1 (complaint filed in California action on October 28, 2016)
     (hereinafter “California Complaint”).
     28
28      Dkt. 1.
     CORE/3008422.0002/130519316.4
                                                    7
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 8 of 19




 1 the first to bestow this Court with jurisdiction over the parties to this suit. Indeed, the
 2 Trusts never even tried to contact Southwest about litigation until after Southwest had
 3 served them with the summons from this Court, and the Funds never tried to serve
 4 Southwest with the California summons until 11 days after the Funds had been served
 5 with the summons from this Court.
 6            The first-to-file rule is not an absolute rule, stripping courts of the ability to use
 7 common sense. Although “a plaintiff's choice of forum is entitled to deference, this is
 8 not the case . . . when . . . the operative facts have not occurred within the forum [or] the
 9 forum has no particular interest in the action.”29 Even in ERISA cases, courts will
10 transfer venue when the plaintiff’s choice of forum “lack[s] any significant contact with
11 the underlying cause of action.”30 Courts are empowered and expected to consider the
12 factors used in a traditional transfer motion, including convenience and suitability of the
13 competing forums.31 All of these factors weigh in favor of keeping this suit in Arizona.
14            By statute, venue should be selected based upon “the convenience of parties and
15 witnesses in the interest of justice.”32 The purpose of the statute is “to prevent the waste
16 of time, energy, and money and to protect litigants, witnesses and the public against
17 unnecessary inconvenience and expense.”33 Those purposes are far-better met by
18 litigating in Arizona than in California. The court must consider the following three
19 factors: (1) the convenience of the parties; (2) the convenience of the witnesses; and (3)
20 the interests of justice.34 In analyzing the third factor, the “interests of justice,” a
21 number of factors are relevant, including: (1) the location where the relevant agreements
22
     29
23      Metz v. U.S. Life Ins. Co. in City of New York, 674 F. Supp. 2d 1141, 1146 (C.D. Cal.
     2009) (punctuation modified); see also Pac. Car & Foundry Co. v. Pence, 403 F.2d
24   949, 954 (9th Cir. 1968); F.T.C. v. Wright, 2:13-CV-2215-HRH, 2014 WL 1385111, at
     *2 (D. Ariz. Apr. 9, 2014) (collecting cases).
25   30
        Hanley v. Omarc, Inc., 6 F. Supp. 2d 770, 775 (N.D. Ill. 1998).
     31
        See, e.g., Micron Tech., Inc. v. MOSAID Techs., Inc., 518 F.3d 897, 904 (Fed. Cir.
26
     2008).
     32
27      28 U.S.C. § 1404(a).
     33
        Saleh v. Titan Corp., et al., 361 F.Supp.2d 1152 (S.D. Cal. 2005).
     34
28      28 U.S.C. § 1404(a).
     CORE/3008422.0002/130519316.4
                                                    8
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 9 of 19




 1 were negotiated and executed, (2) the state that is most familiar with the governing law,
 2 (3) the plaintiffs choice of forum, (4) the respective parties’ contacts with the forum, (5)
 3 the contacts relating to the plaintiffs cause of action in the chosen forum, (6) the
 4 differences in the costs of litigation in the two forums, (7) the availability of compulsory
 5 process to compel attendance of unwilling non-party witnesses, and (8) the ease of
 6 access to sources of proof.35 Virtually all of these factors compel the same result: the
 7 District of Arizona.
 8            A.       Venue is proper in Arizona.
 9            Any litigation relating to this matter could – and should — take place in Arizona.

10 For ERISA claims, venue is proper in the district court in any of four locations: (1)
11 where the plan is administered; (2) where the breach took place; (3) where a defendant
                                                  36
12 resides; or (4) where a defendant may be found. Three of those four alternatives point
13 to Arizona. Southwest employed—and allegedly failed to pay—the union members in
14 Arizona for services that they provided in Arizona. All of the Trusts reside in Arizona,
15 and they can all be found here. Thus, venue in the District of Arizona is clearly proper.
16            B.       The parties’ convenience weighs in favor this District, not California.

17            The parties’ convenience weighs heavily in favor of this District: Southwest’s

18 principal place of business is in Phoenix, and Southwest has no offices, facilities, or
                           37
19 personnel in California. In fact, Southwest’s headquarters—located on McDowell and
     th
20 27 Avenue—is just a stone’s throw from the District of Arizona’s courthouse.
21 Southwest’s three other offices are also located in Arizona—hundreds of miles east of
                         38
22 the California border. Thus, Arizona is obviously more convenient for Southwest.
23        The Funds, in contrast, were not signatories to the Memorandum, were not part

24 of negotiating the Memorandum, and were not involved in performance of the work
25 under the Memorandum. They are nothing more than third-party beneficiaries or
26   35
      Szegedy v. Keystone Food Prod., Inc., 2009 WL 2767683 (C.D. Cal. 2009).
     36
27 37 29 U.S.C. § 1132(e)(2).
      Wilson Decl. ¶ 22-27.
   38
28    Wilson Decl. ¶ 28.
     CORE/3008422.0002/130519316.4
                                                     9
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 10 of 19




 1 assignees of the Memorandum. Thus, they have no more rights than the Construction
 2 Union under the Memorandum.39 Even so, the Funds likely have few, if any, party
 3 witnesses who reside in California. Equally important, it obviously is not inconvenient
 4 for the Funds to litigate in Arizona because the Construction Union is officed in Arizona
 5 with hundreds, if not thousands, of members in Arizona, so the Funds are already
 6 engaged in business in Arizona. Even more important, the Funds audited Southwest and
 7 asserted their claim while Southwest remained exclusively in Arizona, so Arizona does
 8 not constitute an inconvenient forum for the Funds.
 9            Although they are not technically party to this lawsuit, it is also worth noting that
10 the Funds sued three individuals in the California lawsuit based upon their status as
11 managers of Southwest. Those three individuals reside and work exclusively in Arizona,
12 and have no property, phone numbers, addresses, or other contacts with California.40 In
13 short they maintain virtually no contact with California under International Shoe41 so as
14 to have availed themselves of California jurisdiction under Burger King.42
15            C.       Convenience of the non-party witnesses weighs in favor of this District.
16            Many courts have wisely recognized that the convenience of the witnesses is the
                                                                                   43
17 most important factor to consider in evaluating venue under 28 U.S.C. § 1404(a). This
18 factor points exclusively to Arizona. Tom Allen, the former Southwest employee who
19 signed the Memorandum—and whose testimony will be crucial to this matter—resides
                       44
20 in the Phoenix area. Moreover, as part of their audit, the Funds identified fifteen
21 Southwest employees whose pay the Funds disputed during their audit. All fifteen of
                                                      45
22 these Southwest employees live in the Phoenix area. Furthermore, eight of the twenty-
23 four union members whose work gave rise to this claim reside in Arizona—more than
24   39
        Schneider Moving & Storage Co. v. Robbins, 446 U.S. 364, 370 (1983).
     40
        Wilson Decl. ¶ 29-38.
25   41
        International Shoe Co. v. Washington, 326 U.S. 310 (1945).
     42
        Burger King v. Rudzewicz, 471 U.S. 462 (1985).
26   43
        Rogers v. United States, CV-15-08143-PCT-JZB, 2015 WL 8479065, at *4 (D. Ariz.
27   Dec. 10, 2015) (collecting cases).
     44
        Wilson Decl. ¶ 39.
     45
28      Wilson Decl. ¶ 40.
     CORE/3008422.0002/130519316.4
                                                   10
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 11 of 19




 1 any other state.46 Thus, Arizona is a far more convenient forum for the non-party
 2 witnesses.
 3            D.       Public factors show that this District is the most suitable forum.
 4            In addition to the private factors enumerated above, the court must consider the

 5 “public-interest factors and fairness that . . . come under the heading of ‘the interests of
             47
 6 justice.’” These public-interest factors include such things as the local jurisdiction’s
 7 interest in having localized issues decided at home and the forum’s familiarity with the
                                  48
 8 law that will govern the case.
 9            1.       Arizona has a strong interest in deciding this case.

10                     (a)      All of the relevant events occurred in Arizona.

11            Arizona has a strong interest in deciding this case because all of the operative

12 facts in this case occurred in Arizona, not California. Both Southwest and the
13 Construction Union, which purportedly signed the Memorandum, are officed in
           49
14 Phoenix. Southwest is an Arizona entity working almost exclusively in Arizona. The
15 Construction Union maintains an office in Phoenix and has a long history of providing
16 construction services for the Power Plant in Arizona. The Memorandum was
                                              50
17 purportedly signed by Tom Allen in Arizona. And Southwest has never engaged the
                                                        51
18 Construction Union to perform any work in California. In fact, Southwest avoids
19 California at all costs because it has oppressive employment and environmental
               52
20 regulations. Indeed, only a small fraction of Southwest’s heavy equipment could
                                                               53
21 satisfy California’s more stringent environmental standards. For these reasons (among
     46
22      Wilson Decl. ¶ 41.
     47
        Langley v. Prudential Mortg. Capital Co., 546 F.3d 365, 370 (6th Cir.2008) (citation
23   omitted).
     48
        In re Nintendo Co., 589 F.3d 1194, 1198 (Fed.Cir.2009); Ravelo Monegro v. Rosa,
24   211 F.3d 509, 512 (9th Cir.2000).
     49
        The Construction Union has an office located at 4547 W. McDowell Rd.,
25   Phoenix, AZ 85035. See http://www.swcarpenters.org/src-offices/              This is
     approximately 5.5 miles from the District of Arizona’s courthouse.
26   50
        Wilson Decl. ¶ 42.
     51
27      Wilson Decl. ¶ 43.
     52
        Wilson Decl. ¶ 44.
     53
28      Wilson Decl. ¶ 45.
     CORE/3008422.0002/130519316.4
                                                      11
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 12 of 19




 1 others), Southwest does not work in California. Finally, nearly all of the material
 2 witnesses reside in Arizona, not California.54
 3            The fact that the Funds choose to administer their accounts from California is of
 4 no significance, particularly since Southwest is purported to have contracted with the
 5 Construction Union, not the Funds, and Southwest had no role or choice regarding the
 6 location where the Funds chose to administer their program. Moreover, the Funds are
 7 operated for the benefit of Construction Union carpenters who reside and work in
 8 Arizona.55 Indeed, it was their Memorandum that gave rise to this litigation.
 9                     (b)      Arizona’s public policy demands this case be decided in Arizona.
10            The fact that the Construction Union’s work was performed in Arizona is also

11 entitled to great weight. In fact, Arizona’s legislature has declared as a matter of public
12 policy that disputes arising from or collateral to a construction contract must be decided
13 in Arizona, and contract clause that specifies a different forum is “against this state’s
                                                 56
14 public policy and are void and unenforceable.” To be clear, as part of that same public
15 policy, every “dispute resolution proceeding arising from a construction contract for
                                                               57
16 work performed in [Arizona] shall be conducted in [Arizona]. Arizona’s public policy
                                                  58
17 in this regarding is entitled to great weight.
18            In contrast, California has no real interest in addressing this dispute. Nothing

19 related to this Memorandum occurred in California, and Southwest never sought
                                                                              59
20 California workers—the union merely provided workers based on availability. While
21 Southwest focuses its business in Arizona, the Funds are in the business of reaching out
                                                                          60
22 to employers wherever the union gets work (including those in Arizona). To the extent
23 any activities occurred in California, they are related to collection and audit—events
24   54
        Wilson Decl. ¶ 40.
     55
        Wilson Decl. ¶ 41.
25   56
        A.R.S. § 32-1195(A)(1) (emphasis added).
     57
        A.R.S. § 32-1195(A)(1) (emphasis added).
26   58
        In re LMI Legacy Holdings, Inc., 553 B.R. 235, 251 (2016).
     59
27      Wilson Decl. ¶ 46.
     60
        Exhibits 3 to the California Complaint shows the Funds reached out to Southwest (in
28   Arizona), not the other way around.
     CORE/3008422.0002/130519316.4
                                                     12
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 13 of 19




 1 which did not give rise to the alleged breach, but are instead incidental to the alleged
 2 breach committed in Arizona.
 3            2.       This lawsuit is governed by Arizona law.
 4            Although The Trusts claim this dispute arises under ERISA,61 ERISA principles
                                                 62
 5 are applied against a backdrop of Arizona law. Significant here, Arizona law will
 6 govern questions of contract formation and whether the Funds’ claims against
                                                     63
 7 Southwest are barred by the statute of limitation. The Arizona legislature has said that
 8 all contracts “collateral to or affecting a construction contract” must be decided by
               64
 9 Arizona law. Indeed, the law makes any contractual choice-of-law provision void as
                         65
10 against public policy. And even without its statutory expression of public policy,
                                                                                            66
11 Arizona has the greatest interest in applying its law to the facts alleged in this case.
12       3.     Litigating in California will be more expensive than in Arizona.

13            As discussed above, there are, at minimum, 25 Southwest employees and union
                                                                              67
14 workers whose testimony will likely be relevant who all reside in Arizona. Litigating
15 in California would require, at minimum, 25 people needlessly traveling to Los Angeles
16 for trial. This factor weighs heavily in favor of the District of Arizona.
           4.      The witnesses are within the subpoena power of the District of Arizona,
17
                   but not the Central District of California.
18         As discussed above, one of the key witnesses in this matter is Allen, the former
19 Southwest employee who signed the Memorandum. His testimony would be highly
20 relevant to issues of actual and apparent authority and would shed light on negotiations
21
     61
22      See Motion at 3.
     62
        Wetzel v. Lou Ehlers Cadillac Group Long Term Disability Ins. Program, 222 F.3d
23   643, 646–47 (9th Cir. 2000) (courts look to “most analogous state statute” when “[t]here
     is no specific federal [ERISA] statute” on a given issue).
24   63
        Blood Systems, Inc., v. Roesler, 972 F. Supp. 2d 1150, 1156-57 (D. Ariz. 2013)
     (finding that ERISA claim was barred by Arizona’s one-year statute of limitations for
25   employment contracts). See also Syed v. Hercules Inc., 214 F.3d 155 (3d Cir. 2000);
     Adamson v. Armco, Inc., 44 F.3d 650, 652-54 (8th Cir.1995).
26   64
        A.R.S. § 32-1129.05.
     65
27      A.R.S. § 32-1129.05(a)(1).
     66
        See Restatement (Second) Conflicts of Law § 188.
     67
28      Wilson Decl. ¶ 40, 41.
     CORE/3008422.0002/130519316.4
                                                   13
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 14 of 19




 1 regarding the Memorandum. Because he resides in the Phoenix area68 and is no longer
 2 with Southwest, he is not subject to California’s subpoena power, so litigating in this
 3 District is absolutely crucial so Southwest can present its case at trial. The same is true
 4 with the other witnesses who reside in Arizona but whose testimony may be necessary.
 5            5.       The documents are in Arizona, not California.
 6            As discussed above, Southwest does business almost exclusively in Arizona. All

 7 of its records are located in Arizona, not in California.
 8 5.         The Construction Union is not an indispensable party to this lawsuit.

 9            The Trusts are flat wrong to argue that the Construction Union is an
                       69
10 indispensable party. Although the Trusts do not explain their relationship to the
11 Construction Union in their motion, they did explain their relationship in the California
12 action—the Trusts are assignees of the Construction Union: “The duly authorized and
13 acting trustees or directors of each of the PLANS have also assigned to CSAC all their
14 right, title and interest in and to any and all amounts due and owing to the respective
                                                  70
15 PLANS by the employer as herein alleged.” Thus, the Construction Union is merely
16 an assignor of the “right, title and interest” at issue in this lawsuit. Courts across the
                                                                          71
17 country uniformly agree that assignors are not indispensable parties. Indeed, if, as the
18 Trusts admit, there has been a total assignment, the Construction Union is not even a
                               72
19 proper party to this action. The Trusts have no authority to argue otherwise. If the
20
     68
21      Wilson Decl. ¶ 39.
     69
        Motion at 6-8.
     70
22      See California Complaint at 3.
     71
        See, e.g., CIT Fin. LLC v. Treon, Aguirre, Newman & Norris PA, CV-14-00800-
23   PHX-JAT, 2015 WL 2412154, at *2 (D. Ariz. May 20, 2015) (“Generally, an assignor
     is a necessary party only when the validity of the assignment itself is at issue, or when
24   there only has been a partial assignment.”) (internal quotations omitted); R.C. Hedreen
     Co. v. Crow Tribal Hous. Auth., 521 F.Supp. 599, 608 (D.Mont.1981). Because the
25   Construction Union assigned away its rights, the cases cited by the Trust regarding
     “signatories” and “parties” to a contract are inapposite.
26   72
        See CIT Fin. LLC, 2015 WL 2412154, at *2 (“Indeed, in most cases the assignor
27   would not even be a proper party inasmuch as the assignor may have lost the right to
     bring an independent action on the contract by virtue of the assignment.”)(quoting
28   Wright & Miller, 7 Fed. Prac. & Proc. Civ. § 1613 (3d ed.)).
     CORE/3008422.0002/130519316.4
                                                   14
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 15 of 19




 1 Union really was an indispensable party in this action, it likewise is an indispensable
 2 party in the California action – yet the Trusts did not include it in its California action.73
 3            The Trusts incorrectly argues that a ruling in this case could leave the Union
 4 without “benefit of various provisions, including having the members be hired through
 5 the hiring hall.”74 The Construction Union does not have an enforceable right to be
 6 hired by Southwest. Rather, the Memorandum merely purports to establish default
 7 contract terms if (and only if) Southwest chooses to hire union members. To that end,
 8 Southwest terminated its relationship with the Construction Union as soon as it was
 9 informed that they were to be bound by the Memorandum, and Southwest will not
10 resume its relationship as long as the Union or the Trust assert that Southwest is bound
11 by the Memorandum. Thus, any potential “benefit” for the Construction Union is
12 conditional, inchoate, unripe, and highly speculative. Finally, the Memorandum expired
13 by its terms on June 30, 2016.75 Under these facts, the Trusts cannot show that the
14 Construction Union’s interest in this matter is “direct and immediate.”76
15            The Trusts also argue Southwest’s Complaint should be dismissed because
16 Southwest’s failure to join the Construction Union would prejudice Southwest.77 The
17 Trusts’ argument is nothing short of laughable—the Trusts cannot credibly argue that
18 this Court should dismiss Southwest’s claim so as to spare Southwest possible hardship
19 from its own pursuit of the lawsuit. One of the few courts that has been presented with a
20 similar argument dismissed it handily, noting that “prejudice to the plaintiff is rarely a
21 consideration since the plaintiff has elected the forum and the parties.”78
22   73
        See California Complaint at 1.
     74
23      Motion at 7.
     75
        See Ex. 1 to Motion at Page 008.
24   76
        See Janney Montgomery Scott, Inc. v. Shepard Niles, Inc., 11 F.3d 399, 407 (3d Cir.
     1993); see also Cortez v. Los Angeles, 96 F.R.D. 427, 430 (C.D. Cal. 1983) (“mere
25   theoretical possibility of prejudice does not require joinder.”) (internal quotation
     omitted).
26   77
        See Motion at 8 (warning that Southwest could be “subject to a substantial risk of
27   incurring inconsistent obligations”).
     78
        A.J. Kellos Constr. Co. v. Balboa Ins. Co., 495 F. Supp. 408, 414 (S.D. Ga. 1980); see
28   also 4 MOORE’S FEDERAL PRACTICE § 19-03 (“Generally, only defending parties need
     CORE/3008422.0002/130519316.4
                                                 15
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 16 of 19



     6.       Southwest’s claims are not preempted by Section 301 of the LMRA.
 1
              With zero analysis and scant legal authority, the Trusts incorrectly argue that
 2
     Section 301 of the LMRA preemptes the Second Cause of Action (“Doctrine of
 3
     Reasonable Expectations”).79 The Trusts cite Arizona case law then cite basic cases on
 4
     preempting without analysis. Not all state-law claims are preempted.80 Moreover, it is
 5
     the Trusts who interject Arizona law into the conversation; the Complaint does not
 6
     state—or even imply—that the second cause of action arises exclusively under Arizona
 7
     law. The doctrine of reasonable expectations is found in both state and federal common
 8
     law and the Ninth Circuit has expressly applied this doctrine to ERISA. 81 Thus, the
 9
     Second Cause of Action does not necessarily even present state law claims to preempt.
10
              The Trusts’ argument regarding the Third Cause of Action is clearly flawed. The
11
     Ninth Circuit has repeatedly stated that state statutes of limitation are to be applied in
12
     ERISA actions.82 Accordingly, decisions around the country have held that state statutes
13
     of limitations are applicable to—and can time-bar—ERISA actions. 83 In fact, this Court
14
     has previously applied Arizona’s statute of limitation for wage claims to bar an ERISA
15
     claim.84 If the Trusts’ argument held any water, none of these decisions would exist.
16
              The Trusts’ preemption argument fails for an additional reason: the Trusts don’t
17
     actually perform any of the required preemption analysis under LMRA Section 301.
18
19
20 worry about the imposition of inconsistent or multiple obligations… [P]otential harm to
   the plaintiff is rarely relevant.”).
   79
21 80 Motion at 8-9.
      See footnote 88, infra.
   81
22     Saltarelli v. Bob Baker Group Medical Trust, 35 F.3d 382 (1994) (doctrine of
   reasonable expectations relevant to ERISA-governed insurance contracts); Winters v.
23 Costco Wholesale Corp., 49 F.3d 550 (9th Cir. 1995) (evaluating participant’s
   reasonable expectations relating to self-funded ERISA welfare benefit plan).
24 82 See, e.g., Wise v. Verizon Commc’ns, Inc., 600 F.3d 1180, 1184 (9th Cir. 2010);
   Wetzel v. Lou Ehlers Cadillac Grp. Long Term Disability Ins. Program, 222 F.3d 643,
25 646 (9th Cir. 2000).
   83
      See Syed v. Hercules Inc., 214 F.3d 155 (3d Cir. 2000) (ERISA claims barred by state
26 statute of limitations for employment disputes); Adamson v. Armco, Inc., 44 F.3d 650,
27 652-54
   84
            (8th Cir.1995) (ERISA claims barred by statute of limitations for wage claims).
      Blood Systems, Inc., v. Roesler, 972 F. Supp. 2d 1150, 1156-57 (D. Ariz. 2013)
28 (Arizona’s 1-year statute of limitations for employment contracts barred ERISA claim).
     CORE/3008422.0002/130519316.4
                                                 16
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 17 of 19




 1 The Trusts attempts to pass off its quotes from Allis-Chamlers Corp. v. Lueck
 2 (“inextricably intertwined with consideration of the term of the labor contract”)85 and
 3 Miller v. AT&T Network Sys. (“[s]ection 301 preempts all state-law causes of action
 4 evaluation of which requires interpretation of a labor contact’s terms.”)86 as the tests for
 5 preemption under Section 301. But the language quoted in the Trusts’ motion is not the
 6 test, nor anything near it. Even a cursory reading of the Miller case shows that the above
 7 language was merely introductory language regarding Section 301 preemption. The
 8 actual test is much more involved:
 9                In deciding whether a state law is preempted under section 301…
                  a court must consider: (1) whether the CBA contains provisions
10                that govern the actions giving rise to a state claim, and if so, (2)
                  whether the state has articulated a standard sufficiently clear that
11                the state claim can be evaluated without considering the
                  overlapping provisions of the CBA, and (3) whether the state has
12                shown an intent not to allow its prohibition to be altered or
                  removed by private contract. A state law will be preempted only
13                if the answer to the first question is “yes,” and the answer to
14                either the second or third is “no.”87

15 The Trusts’ failure to cite the actual test from its own cited case is fatal to its preemption
16 argument. This failure to apply the test precludes them from raising that issue (really for
17 the first time) in their Reply. The Trusts’ preemption arguments fail.
18 7.         Conclusion

19            As shown above, the Trusts’ Motion is misleading and fatally flawed. Southwest
20 never agreed to the Memorandum or the Trusts’ forum-selection clause, and the forum-
21 selection clause is unenforceable in any event. Arizona has the greatest interest in
22 deciding this case, and Arizona’s public policy favors of having the dispute resolved
23 here. Moreover, neither the parties nor the witnesses have any contact with California.
24 The Construction Union is not indispensable to this lawsuit, nor are Southwest’s claims
25 preempted. For all these reason, the Trusts’ motion should be denied.
26
     85
27    Motion at 8.
     86
      Motion at 10.
   87
28    Miller v. AT & T Network Systems, 850 F.2d 543, 548 (1988).
     CORE/3008422.0002/130519316.4
                                                   17
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 18 of 19




 1            RESPECTFULLY SUBMITTED 9th day of December 2016.
 2                                          STINSON LEONARD STREET LLP
 3                                   By:    /s/ Javier Torres
                                            James E. Holland, Jr.
 4                                          Javier Torres
                                            1850 North Central Avenue, Suite 2100
 5                                          Phoenix, Arizona 85004-4584
 6                                          Attorneys for Southwest Industrial Rigging

 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     CORE/3008422.0002/130519316.4
                                           18
      Case 2:16-cv-03799-DJH Document 19 Filed 12/09/16 Page 19 of 19



                                     CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on December 9, 2016 I caused the foregoing document to be

 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
 4
     notice of the electronic filing to:
 5
 6            Daniel Shanley
              DeCarlo & Shanley
 7            533 South Freemont Avenue, Ninth Floor
              Los Angeles, California 90071-1706
 8            dshanley@deconsel.com
 9
10
11                                             /s/ Celia M. Guerrero

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     CORE/3008422.0002/130519316.4
                                                 19
